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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

RICHARD FABER, Individually,        )
and also on behalf of all similarly )
situated persons, and JENNIFER      )
MONROE, Individually, and also      )
on behalf of all similarly situated )
persons,                            )
                                    )
      Plaintiffs,                   )
                                    )
vs.                                 )           No. 2:16-cv-02337-STA-cgc
                                    )
CIOX HEALTH, LLC, d/b/a             )
HEALTHPORT                          )
TECHNOLOGIES, LLC,                  )
                                    )
      Defendant.                    )
______________________________________________________________________________

       ORDER DENYING DEFENDANT’S MOTION TO ALTER OR AMEND
______________________________________________________________________________

       Before the Court is the Motion (ECF No. 43) of Defendant CIOX Health, LLC, d/b/a

Healthport Technologies, LLC, to Alter or Amend the Court’s September 29, 2017 Order (ECF

No. 40) on Defendant’s Motion to Dismiss (ECF No. 18). Though Defendant initially filed the

instant Motion under Rule 59 of the Federal Rules of Civil Procedure, the Court entered an Order

(ECF No. 45) that notified the parties inter alia that it would be construing the Motion under

Rule 54(b) and Local Rule 7.3. That same day Plaintiffs filed their Response (ECF No. 46) to

Defendant’s Motion. The Court has reviewed the briefings of the parties and finds that it did not

ignore any point of authority or arguments raised by the parties when considering the Motion to

Dismiss. Nor does the Court find that it made any manifest error when applying the law to the

general allegations made in the Amended Complaint (ECF No. 15). Accordingly, Defendant’s
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Motion is DENIED. Nothing in the Court’s September 29, 2017 Order or this Order precludes

Defendant, however, from raising these arguments, or similar arguments, once more in light of

undisputed material facts when such facts are before the Court.

       It is so ORDERED.

                                            s/ S. Thomas Anderson
                                            S. THOMAS ANDERSON
                                            CHIEF UNITED STATES DISTRICT JUDGE


                                            Date: November 14, 2017.




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